                      Case 1:05-cr-00479-LJO Document 60 Filed 02/10/06 Page 1 of 2


           EFFREY T. HAMhERSCHMIDT, #13 11 13
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                                                     LODf;ED
           Attorney for Defendant, ANNA BARRIENT~EB           &$ 2006
                                                               BY--^^^^^^^^^
                                                 gA#@N"'$$f'j~ill OF CALIFORNIA



 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF CALIFORNIA
 9
          UNITED STATES OF AMERICA,                     )
10                                                      )          CASE NO. 105-CR-00479 OWW
                                        Plaintiff,      1
11 vs.                                                  )          SUBSTITUTION OF ATTORNEY
                                                       )
          ANNA BARRJENTE                               )
                                        Dekndant .     )
                                                       )
                 I, ANNABARRIENTE, def&n&nt, hereby substitutes as my attorney of record, in the above
          captioned matter, Jeffrey T. Hammerschmidt, #131113, Address: 1327 'W' Street; Fresno,
          California, 93721; Telephone: (559) 233-51 51; Facsimile: (559) 266-9403, in place of and stead of
          Eric V. Kersten of the Office of the Federal Defender.
          DATED

                                                       ANNA BARRIENTE



22
     I    I w a n t to the above substitution


          DATED:                                       DENNIS S. WAKS
23
24
25
          I ACCEPT to the above substitution.
          DATED.      2-6-06

     II                                              Page 1 of 2                                               1
        Case 1:05-cr-00479-LJO Document 60 Filed 02/10/06 Page 2 of 2



                                   ORDER
    Substitution of Attorney is

ated:
                                    U.S.     D I S T R I C T JUDG




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